Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 1 of 83

40TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA
CIVIL ACTION NO. 797/@4 DIVISION” “ SECTION “(”
ERIC M. GAUFE, JR.
-versus-~-
PROGRESSIVE SECURITY INSURANCE COMPANY,

DIONNIS GUEVARA-FIGUERDO AND DGF TRANSPORT LLC

St. John the Baptist Parish Clerk of Court
Eliana DeFrancesch

 

 

 

Filed: LAPLACE, LOUISIANA
Date: OCTOBER 1, 2021 DEPUTY CLERK
Time: 3:16 P.M.

 

PETITION FOR DAMAGES

NOW INTO COURT, through undersigned counsel, comes Plaintiff, ERIC M.
GAUEFF, JR., of age and domiciled in the Parish of St. Charles, State of Louisiana, with
respect represents that:

I.
The following parties be made Defendants herein:
a. PROGRESSIVE SECURITY INSURANCE COMPANY, a domestic
insurer, domiciled in the State of Louisiana, authorized to do and

doing business in the State of Louisiana;

b. | DIONNIS GUEVARA-FIGUERDO, of age and a resident of the
State of Texas; and

C. DGF TRANSPORT LLC, a limited liability company, domiciled in
Texas, not authorized to do but doing business in the State of
Louisiana.

II.

On October 23, 2020, at approximately 8:30 a.m., Plaintiff, ERIC GAUFF, JR., was
the owner and operator'of a 2016 Chevrolet Camaro, traveling in the left through lane of
southbound Louisiana Highway 3138, near its intersection with West Airline Highway,
which southbound Louisiana Highway 3188 traffic, at all material times herein was
controlled by a red traffic control signal, when Plaintiff, ERIC M. GAUFF, JR., brought

his vehicle to a gradual, safe and complete stop, due to the red traffic control signal, in

the City of LaPlace and Parish of St. John the Baptist, State of Louisiana.

 
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Ii.

Defendant, DIONNIS GUEVARA-FIGUERDO, on that date, was the owner and
operator of a 2015 Volvo tractor trailer, traveling in the left turn lane on southbound
Louisiana Highway 3138, at that same location, traveling adjacent to the GAUFF
vehicle, when suddenly and without warning, defendant, DIONNIS GUEVARA-
FIGUERDO, changed from the left turn lane into the left through lane and collided with
the GAUFF vehicle that was at a complete stop in the left through lane of southbound
Louisiana Highway 3138.

IV.

At all material times herein, Defendant DIONNIS GUEVARA-FIGUERDO, was
operating the 2015 Volvo tractor trailer in the course and scope of his employment with
Defendant, DGF TRANSPORT LLC.

/ V.

Plaintiff shows that the crash was caused by the negligence of the Defendant,
DIONNIS GUEVARA-FIGUERDO, which negligence is imputed to his employer and
Defendant, DGF TRANSPORT LLC, which negligence consists of the following non-
exclusive particulars:

a. In the careless operation of a motor vehicle;

b. In failing to see what he should have seen;

C. In negligently changing lanes and colliding into the GAUFF

vehicle;
d. In driving inattentively; and
e. All those other acts of negligence known only to the Defendants,

DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC.
VI.
On the date of the crash, there was in full force and effect a policy of insurance
issued by Defendant, PROGRESSIVE SECURITY INSURANCE COMPANY to
Defendants, DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC, which

policy of insurance affords coverage for the type of crash sued upon herein.
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Vil.
As a result of the crash, Plaintiff, ERIC M. GAUFF, JR., was injured.
VII.

As a result of the crash, the vehicle owned by Plaintiff, ERIC M. GAUFF, JR., was
damaged.

IX.

As a result of the crash, Plaintiff, ERIC M. GAUFF, JR., sustained damages
consisting of physical pain and suffering, past and future; mental, emotional and
psychological pain and suffering, past and future; medical expenses, past and future;
loss of enjoyment of life, past and future; permanent impairment; permanent disability;
loss of wages, past and future; and all other damages to be proven at Trial in this matter

WHEREFORE, Plaintiff, ERIC M. GAUFF, JR., prays that after all legal delays
and due proceedings had that there be Judgment herein in favor of Plaintiff, ERIC M.
GAUFF, JR., and against the Defendants, PROGRESSIVE SECURITY INSURANCE
COMPANY, DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC, jointly
and in solido, in an amount to be set by this Honorable Court, together with legal
interest thereon from date of judicial demand, until paid, and for all costs of these

‘proceedings.

  

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DEAN | FAVREA pax #20186
( ' ANGEIA C. IMBORNONE, Bar #19631
SETH H. SCHAUMBURG, Bar #24636
ANTHONY J. RUSSO, Bar #8806
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1515 Poydras Street, Suite 1400
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Email: dean@favretlaw.com;

Email: angela@favretlaw.com
Attorneys for Plaintiff

 

 

 

 

PLEASE SERVE |

PLEASE SEE NEXT PAGE FOR SERVICE INSTRUCTIONS

3
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PLEASE SERVE:

PROGRESSIVE SECURITY INSURANCE COMPANY
THROUGH THE LOUISIANA SECRETARY OF STATE
8585 ARCHIVES AVENUE

BATON ROUGE, LA 70809

THROUGH THE LOUISIANA LONG ARM STATUTE
DIONNIS GUEVARA-FIGUERDO

2562 W. BERRY STREET

ODESSA, TEXAS 79766

THROUGH THE LOUISIANA LONG ARM STATUTE
DGF TRANSPORT LLC

2562 W. BERRY STREET

ODESSA, TEXAS 79766
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 5 of 83

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401H JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPT Ist"

STATE OF LOUISIANA
CIVIL ACTION NO.' 94 1le4 DIVISION“ “C,
_ Eliana DeFrancesch - Clerk of Court : ERIC M. GAUFF, JR.
Filed: Oct 01, 2021 3:16 PM
PUT TT -versus-

134649763
. PROGRESSIVE SECURITY INSURANCE COMPANY, _
DIONNIS GUEVARA-FIGUERDO AND DGF TRANSPORT LLC

FILED:

 

 

DEPUTY CLERK

INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS

TO: PROGRESSIVE SECURITY INSURANCE COMPAN Y

Through the Secretary of State
State of Louisiana

8585 Archives Avenue

Baton Rouge, Louisiana 70809

Plaintiff, ERIC M. GAUFF, JR., directs the following Interrogatories and Request
for Production of Documents to defendant, PROGRESSIVE SECURITY INSURANCE
COMPANY, to be answered under oath within the delays provided by the Louisiana

Code of Civil Procedure.

INTERROGATORY NO. 1:
For each policy of insurance providing insurance coverage for the incident/ crash
involved in this suit state:
a. The name of the insurer;
b. The limits of coverage for liability, UM, med pay, property damage and
property damage liability;
C. Whether you deny coverage or assert any exclusions; if your answer is
yes, the factual basis for your denial of coverage or assertion of exclusions;
d. Identify any umbrella or excess policies of insurance along with name of

insurer and limits of coverage.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 6 of 83

INTERROGATORY NO. 2:

State your insuired’s version of the incident/ crash at issue.
INTERROGATORY NO. 3:

Do you allege that plaintiff was at fault in causing the crash? If your answer is
yes, state the factual basis for any allegation that plaintiff was at fault or contributed to

the crash. .

INTERROGATORY NO. 4:

 

List each and every defense you allege to plaintiff's claims for bodily injury,
medical expenses, property damage, loss of income, disability, scarring, mental
anguish, loss of consortium or any other claim for damages made by plaintiff. For each
defense you list, state the factual basis on which you assert this defense.
INTERROGATORY NO. 5:

State whether DIONNIS GUEVARA-FIGUERDO, was employed at the time of
the incident/crash and, if so, whether the incident/crash occurred while he was on
duty or performing a job related function.

INTERROGATORY NO. 6:

List any and all restrictions that you are aware of that DIONNIS GUEVARA-
FIGUERDO has affecting his ability to drive or in connection with his license to drive,
including any restrictions on his eyesight, movement, mental condition, medical
condition, or any other conditions which would restrict or affect his driving.
INTERROGATORY NO. 7:

List and describe each and every other vehicular crash that you have knowledge
of that DIONNIS GUEVARA-FIGUERDO has ever been involved in as a driver
providing the date, location and how the crash occurred.

INTERROGATORY NO. 8:
. State whether DIONNIS GUEVARA-FIGUERDO received a citation for the

incident/crash at issue and, if so, whether he paid the citation and, if not, how it was

resolved, |
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 7 of 83

INTERROGATORY NO. 9:

List each and every arrest, plea or conviction that you are aware of that

DIONNIS GUEVARA-FIGUERDO has been involved in or has incurred in the past.

INTERROGATORY NO. 10:

State the name of every person or entity which you know has any information, or

; .
may testify, or has contacted you regarding this case in connection with the following

issues:

For each PERSON OR ENTITY state (1) address, employment, phone number;

| ;
(2) whether they will be called as a witness at trial; and (3) provide a detailed factual

description of the information they possess or the testimony they will be providing. |

a.

Insurance coverage in effect providing coverage to you or your insured
and any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit,
the appraisal of property damage, estimates, photographs, repair and
payment of property damage;

The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to evaluate bodily injury,
property damage, med pay or any other claim for payment;

Relating to the incident/ crash and its occurrence, including eyewitnesses,
its investigation, investigative officers, crash reconstruction, or other
information concerning the crash and the cause of it;

Regarding plaintiff's bodily injury claim or any assertion by you that
plaintiff's injuries, in whole or in part, were not caused by the crash at
issue;

Regarding plaintiff's claim for loss of income and any assertion by you
that plaintiff has not lost all or a part of his income or will not lose income

|
in the future as a result of this incident;
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 8 of 83

g-

Any information regarding any allegation by you that plaintiff's own

negligence caused or contributed to the crash at issue.

INTERROGATORY NO. 11:

Describe every DOCUMENT OR THING which you know has any information

in connection with the following issues:

For each DOCUMENT OR THING include: (1) each and every photograph,

video, writing, notation, radiographic film, thing, exhibit or any other item of evidence;

(2) describe it by its title or a description of it; and (3) state who has possession of it.

a.

Insurance coverage in effect providing coverage to you or your insured
and any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit,
the appraisal of property damage, estimates, photographs, repair and
payment of property damage;

The adjuster assigned to handle this claim and any appraiser or

independent adjustment company assigned to evaluate bodily injury,

property damage, med pay, or any other claim for payment;

Relating to the incident/crash and its occurrence, including eyewitnesses,
its investigation, investigative officers, crash reconstruction, or other
information concerning the crash and the cause of it;

Regarding plaintiff’s bodily injury claims or any assertion by you that
plaintiff's injuries, in whole or in part, were not caused by the crash at
issue;

Regarding plaintiff's claim for loss of income and any assertion by you
that plaintiff has not lost all or a part of his income or will not lose income _
in the future as a result of this incident;

Any information regarding any allegation by’ you that plaintiffs own
negligence caused or contributed to the crash at issue.

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 9 of 83

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INTERROGATORY NO. 12:
State whether you or your attorney or any third party have in your possession
any still photographs or video surveillance tapes of plaintiff, ERIC M. GAUFF, JR., and,

if so, state:

a. The date that all photographs and/or video surveillance were taken;

b. The name, address and telephone number of any and all individuals who

took ind photographs and/or filmed the surveillance video;

c. All locations in which any of the above listed plaintiff was photographed

and/or-under video surveillance.
INTERROGATORY NO. 13:

Please list the last known address and telephone number of DIONNIS
GUEVARA-FIGUERDO and the date of the last contact between you and DIONNIS
GUEVARA-FIGUERDO.

INTERROGATORY NO, 14:

Please state the name, address and telephone number of the registered owner of
the vehicle involved in the subject crash.
INTERROGATORY NO. 15:

Please state whether DIONNIS GUEVARA-FIGUERDO was driving the vehicle
involved in the subject crash with the full knowledge, consent and permission of the
owner of the vehicle insured by your company.

INTERROGATORY NO. 16:

Please state whether DIONNIS GUEVARA-FIGUERDO was in the course and
scope of any employment at the time of the subject crash and, if so, please state the
name, address and telephone of his employer.

INTERROGATORY NO. 17:

With respect to any expert witness you expect to call at trial, please:
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 10 of 83

a. Give a complete statement of all opinions to be expressed and the
basis of reasons therefore;

b. Identify the data or other information considered by the witness
informing the opinions;

C. Describe and produce any exhibits to be used as a summary of or
support for the opinions;

d. State the qualifications of the witness, including a list of all
publications authored by the witness within the preceding ten (10)
years (please produce a current curriculum vitae if available);

e, Describe the compensation to be paid for the study and
testimony / testimonies;

f, Provide a listing (by jurisdiction, caption, and case number if
available) of any other cases in which the witness testified as an
expert at trial or by deposition within the preceding four (4) years,
indicating the side or party for whom the witness testified and the
attorney representing such party;

g. State the number of cases on which the witness has previously
consulted with the counsel or firm retaining that expert in this case,
and identify the case/cases if the testimony occurred within the last
four (4) years;

h. State the number of cases in which the witness has previously
testified in that position, hearing or trial on behalf of a party
represented by the counsel or firm retaining that expert in this case,
and identify the case/cases if the testimony occurred within the last
four (4) years;

i. Provide a listing of any medical, professional or technical literature

that the witness has read in connection with this case;
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 11 of 83

Provide a listing of the books in the witness’ possession or control
that relate to the subject matter of the witness’ testimony;

Provide a listing of the professional journals to which the witness
has subscribed during the past four (4) years; and

State whether the expert knows the party / parties on whose behalf
the expert is testifying and describe any personal, professional or

social relationship between the expert and such party.

INTERROGATORY NO. 18:

List the name, address and telephone number of all individuals who gave an

audio recorded statement, and the name, address and telephone number of all adjusters

who took audio recorded statements of any witness or party involving the subject crash.

REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

Produce each and every:

. a

Document, photograph, video, writing, notation, radiographic film, thing,
exhibit, or any other item of evidence referred in your answers to the
preceding Interrogatories. For every photograph, slide or illustration,
please attach a color copy. (Your reasonable reproduction cost for color
copies will be immediately paid by counsel upon receipt of invoice.)

Any document or evidence which you intend to produce as an exhibit at
the trial of this case;

A certified copy of all policies of insurance in existence at the time of the
incident/crash providing applicable insurance coverage for the
incident/ crash involved in this suit;

Any other document, photograph, video, writing, notation, radiographic

film, thing, exhibit or any other item of evidence having any information
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 12 of 83

pertaining to plaintiff's claims, defendants’ defenses, any counter claim: or
any other claim in this suit in your possession.
REQUEST FOR PRODUCTION NO. 2:
Produce duplicate photographs and duplicate videos depicting any and all
photographs and video surveillance of plaintiff, ERIC M. GAUFF, JR.
REQUEST FOR PRODUCTION NO. 3:
Produce audio recorded statements pursuant to Landis v. Moreau, 779 So2d 691
(La, 2001).
REQUEST FOR PRODUCTION NO. 4:
Produce transcripts of all recorded statements of any witness of party related to
the subject crash pursuant to Landis v, Moreau, 779 So2d 691 (La. 2001).
REQUEST FOR PRODUCTION NOS:
Produce copies of all transcripts and all written statements prepared by any
individual with knowledge concerning the subject crash.
REQUEST FOR PRODUCTION NO. 6:
Produce a copy of DIONNIS GUEVARA-FIGUERDO’s driver's license.
REQUEST FOR PRODUCTION NO, 7:
Regarding the experts listed in your Answer to Interrogatory No. 17, please
produce the following documents:
a. All documents provided to any. expert witness whom you expect to
call at trial, including records, reports, literature, memoranda, or
any other documents prepared by you or your attorney;
b. All records of attendance and continuing medical education
courses for the witness for the previous (5) years;
c. The witness’ most recent curriculum vitae:
d. Any literature file maintained by the witness of articles, treatises,

|
pamphlets, and the like concerning any subjects related to this

litigation;
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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 13 of 83

e. Any articles, treatises, books, speeches, or other writings, whether
publisHed or unpublished, that the witness has or delivered on the
topic for which the witness is testifying in this matter;

f. Transcripts of any testimony the witness has given in any case as
an expert witness on any topic;

g. All transcripts and/ or testimony, whether by deposition or in
court, given by the witness in any case in which the witness was a
defendant concerning any issues relevant to this case;

h. All medical literature, articles, treatises, pamphlets, videotapes,
educational materials of any kind, or instructions used or relied
upon the witness concerning the IME performed on plaintiff; and

i. As to each expert witness whom you expect to call at trial: |
1. All documents provided to such experts in connection

with this case, including records, reports, literature,
memoranda, and/or any other documents;

2. Any records, reports, notes, memoranda, bills,
correspondence, or any other documents prepared by
any expert witness in connection with this case;

3. Copies of any manuscripts, drafts, galleys, outlines,
slides and the like, concerning any oral or written
presentations made by the expert on any subject

relevant to this case which are not in the public

domain;

4. Transcripts of any deposition(s) or trail testimony in
the expert’s possession or control on any subject

peer to this case;

5. A current CV for each such expert; and
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 14 of 83

a

6. Any exhibits prepared by or with the assistance of the

expert which are intended to illustrate aspects of the

 

expert's testimony.
|

REQUEST FOR PRODUCTION NO. 8:
t

Pursuant to ine Louisiana Code of Civil Procedure Article 1458, the attached
Verification, signed sad notarized.
THESE INTERROGATORIES AND REQUEST FOR PRODUCTION OF
‘DOCUMENTS ARE DEEMED CONTINUING AND SHOULD BE SUPPLEMENTED
REASONABLY IF AN D WHEN YOU OR YOUR AGENT ARE IN POSSESSION OF
. PHOTOGRAPHIC SURVEILLAN CE OR VIDEO SURVEILLANCE.
Regpectfytly submitted,
AVRET, DEMAREST, RUSSO,

IUTKEWT SCHAUMBURG
Professional\Law Corporation

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! Vi fi Bar'¥20186
ONY J. RWSSO, Bar #8806

. SCHAUMBURG, Bar #24636

| ANGELA C. IMBORNONE, Bar #19631
LAUREN A. FAVRET, Bar #33826

1515 Poydras Street, Suite 1400

| New Orleans, LA 70112

| Telephone: (504) 561-1006

| Facsimile: (504) 523-0699

| Email: dean@favretlaw.com

| Email; angela@favretlaw.com

| Attorneys for Plaintiff

|

PLEASE SERVE:

|
PROGRESSIVE SECURITY INSURANCE COMPANY
Through the Secretary of State
State of Louisiana |

8585 Archives Avenue
Baton Rouge, LA 70809

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 15 of 83

‘VERIFICATION
I

STATE OF

 

PARISH OF |

BEFORE ME; the undersigned authority, personally came and appeared:

f

PROGRESSIVE SECURITY INSURANCE COMPANY

| Through its undersigned representative,
|

who, after being duly sworn, did depose and state that he/she has read the foregoing
Answers to Interrogatories and Responses to Request for Production of Documents and
|

that same are true and correct according to his/her information, knowledge and belief.

PROGRESSIVE SECURITY INSURANCE COMPANY

By:

 

Printed Name:

 

Title:

 

Sworn to and subscribed before me
this day of

, 2021.

 

NOTARY PUBLIC
NOTARY LD. #

 

 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 16 of 83

40™ JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA

CIVIL ACTION NO. 4 q IG 4 DIVISION “ “C

Eliana DeFrancesch - Clerk of Court
Filed: Oct 01, 2021 3:16 PM ERIC M. GAUFE, JR.

DETOEUN A MN A  -versus-

134649755

PROGRESSIVE SECURITY INSURANCE COMPANY, DIONNIS GUEVARA-
FIGUERDO AND DGF TRANSPORT LLC

 

 

 

 

FILED:
DEPUTY CLERK
INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
f TO: DIONNIS GUEVARA-FIGUERDO
‘ 2562 W. BERRY STREET
ODESSA, TEXAS 79766

COMES NOW, Plaintiff, ERIC M. GAUFF, JR., through undersigned counsel, and
directs the following Interrogatories and Request for Production of Documents to
defendant, DIONNIS GUEVARA-FIGUERDO, to be answered under oath within the
delays provided by the Louisiana Code of Civil Procedure:

INTERROGATORY NO. 1:

For each policy of insurance providing insurance coverage for the
incident/ accident involved in this suit state:

a. The name of the insurer;

b. The limits of coverage for | liability, UM, med pay, property damage and

property damage liability;

c. Whether you deny coverage or assert any exclusions; if your answer is yes, the

factual basis for your denial of coverage or assertion of exclusions; and

d. Identify any umbrella or excess policies of insurance along with name of

insurer and limits of coverage.
INTERROGATORY NO. 2:

State your version of the incident/ accident at issue.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 17 of 83

INTERROGATORY NO. 3:
Do you allege that plaintiff was at fault in causing the accident? If your answer is
' yes, state the factual basis for any allegation that plaintiff was at fault or contributed to
the accident.
INTERROGATORY NO. 4:

List each and’ every defense you allege to plaintiff's claims for bodily injury,
medical expenses, property damage, loss of income, disability, scarring, mental anguish,
loss of consortium or any other claim for damages made by plaintiff. For each defense
you list, state the factual basis on which you assert this defense.

INTERROGATORY NO. 5:

State whether you were employed at the time of the incident/ accident and, if so,
state the name, address and telephone number of your employer and state whether the
incident/ accident occurred while you were on duty or performing a job related function.
INTERROGATORY NO. 6:

List any and all restrictions that you are aware of that you have affecting your
ability to drive or in connection with your license to drive, including any restrictions on
your eyesight, movement, mental condition, medical condition, or any other conditions
which would restrict or affect your driving.

INTERROGATORY NO. 7:

List and describe each and every other vehicular accident that you have
knowledge of that you have ever been involved in asa driver providing the date, location
and how the accident occurred.

INTERROGATORY NO. 8:

State whether you received a citation for the incident/ accident at issue and, if sO,

whether you paid the citation and, if not, how it was resolved.
INTERROGATORY NO. 9:
List each and every arrest, plea or conviction that you are aware of that you have

been involved in or have incurred in the past.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 18 of 83

INTERROGATORY NO. 10:

State the name of every person or entity which you know has any information, or
may testify, or has contacted you regarding this case in connection with the following
issues:

For each PERSON OR ENTITY state (1) address, employment, phone number; (2)
whether they will be called as a witness at trial; and (3) provide a detailed factual
description of the information they possess or the testimony they will be providing.

a. Insurance coverage in effect providing coverage to you or your insured and

any asserted exclusions or denial of coverage;

b. Any property damage involving any of the vehicles involved in this suit, the
appraisal of property damage, estimates, photographs, repair and payment of
property damage; |

c. The adjuster assigned to handle this claim and any appraiser or independent
adjustment company assigned to evaluate bodily injury, property damage,
med pay or any other claim for payment;

d. Relating to the incident/accident and its occurrence, including eyewitnesses,
its investigation, investigative officers, accident reconstruction, or other
information concerning the accident and the cause of it;

e. Regarding plaintiff's bodily injury claim or any assertion by you that plaintiff's
injuries, in whole or in part, were not caused by the accident at issue;

f. Regarding plaintiff's claim for loss of income and any assertion by you that
plaintiff has not lost all or a part of his income or will not lose income in the
future as a result of this incident; |

g- Any information regarding any allegation by you that plaintiffs own
negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 11:

Describe every DOCUMENT OR THING which you know has any information

in connection with the following issues:
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 19 of 83

For each DOCUMENT OR THING include: (1) each and every photograph,

video, writing, notation, radiographic film, thing, exhibit or any other item of evidence;

(2) describe it by its title or a description of it; and (3) state who has possession of it.

a.

Insurance coverage in effect providing coverage to you or your insured and
any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit, the
appraisal of property damage, estimates, photographs, repair and payment of
property damage;

The adjuster assigned to handle this claim and any appraiser or independent
adjustment company assigned to evaluate bodily injury, property damage,
med pay, or any other claim for payment;

Relating to the incident/ accident and its occurrence, including eyewitnesses,
its investigation, investigative officers, accident reconstruction, or other
information concerning the accident and the cause of it;

Regarding plaintiff's bodily injury claim or any assertion by you that plaintiff's
injuries, in whole or in part, were not caused by the accident at issue;
Regarding plaintiff's claim for loss of income and any assertion by you that
plaintiff has not lost all or a part of her income or will not lose income in the
future as a result of this incident; and

Any information regarding any allegation by you that plaintiff's own

negligence caused or contributed to the accident at issue.

- INTERROGATORY NO, 12:

State whether you or your attorney or any third party have in your possession any

still photographs or video surveillance tapes of plaintiff, ERIC M. GAUFE, m, and, if so,

state:

a.

b.

The date that all photographs and/or video surveillance were taken;
The name, address and telephone number of any and all individuals who took

the photographs and/or filmed the surveillance video; and
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 20 of 83

c. All locations in which any of the above listed plaintiff was photographed

and/or under video surveillance.
INTERROGATORY NO. 13:

Please state the name, address and telephone number of the registered owner of
the vehicle involved in the subject accident.
INTERROGATORY NO. 14:

Please state whether you were driving the vehicle involved in the subject accident
with the full knowledge, permission and consent of the registered owner of the vehicle
involved in the subject accident.

INTERROGATORY NO. 15:

List the name, address and telephone number of all individuals who gave an audio
recorded statement, and the name, address and telephone number of all adjusters who
took audio recorded statements of any witness or party involving the subject accident.

REQUEST FOR PRODUCTION OF DOCUMENTS
REQUEST FOR PRODUCTION NO. 1:

Produce each and every:

a. Document, photograph, video, writing, notation, radiographic film, thing,
exhibit, or any other item of evidence referred in your answers to the preceding
Interrogatories. For every photograph, slide or illustration, please attach a
color copy. (Your reasonable reproduction cost for color copies will be —
immediately paid by counsel upon receipt of invoice.)

b. Any document or evidence which you intend to produce as an exhibit at the
trial of this case;

c. A certified copy of all policies of insurance in existence at the time of the
incident/ accident providing applicable insurance coverage for the
incident/ accident involved in this suit;

d. ‘Any other document, photograph, video, writing, notation, radiographic film,

thing, exhibit or any other item of evidence having any information pertaining
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 21 of 83

to plaintiff's claims, defendants’ defenses, any counter claim or any other claim
in this suit in your possession.
REQUEST FOR PRODUCTION NO. 2:
Produce duplicate photographs and duplicate videos depicting any and all
photographs and video surveillance of plaintiff, ERIC M. GAUFF, JR.
REQUEST FOR PRODUCTION NO. 3:
Produce a copy of your driver's license.
REQUEST FOR PRODUCTION NO. 4:
Produce audio recorded statements pursuant to Landis v. Moreau, 779 So2d 691 (La.
2001).
REQUEST FOR PRODUCTION NO. 5:
Produce transcripts of all recorded statements of any witness of party related to
the subject accident pursuant to Landis v. Moreau, 779 So2d 691 (La. 2001 ).
REQUEST FOR PRODUCTION NO. 6:
Produce copies of all transcripts and all written statements prepared by any
individual with knowledge concerning the subject accident.
REQUEST FOR PRODUCTION NO. 7:
Produce any and all exhibits listed, described, referred to and requested to be
produced in answering the preceding set of Interrogatories.
REQUEST FOR PRODUCTION NO. 8.
Pursuant to the Louisiana Code of Civil Procedure Article 1458, the attached
Verification, signed and notarized.
' THESE INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS ARE DEEMED CONTINUING AND SHOULD BE SUPPLEMENTED

REASONABLY IF AND WHEN YOU OR YOUR AGENT ARE IN POSSESSION OF

PHOTOGRAPHIC SURVEILLANCE OR VIDEO SURVEILLANCE.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 22 of 83

PLEASE SERVE:

Respectfully submitted,
FAVRET USSO,
LUZKE SCHAUMBURG

  

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NA; AV
DEMn EY , Bar #20186
SETH H. SCHAUMBURG, Bar #24636
ANTHONY J. RUSSO, Bar #8806
ANGELA C. IMBORNONE, Bar #19631
LAUREN A. FAVRET, Bar #33826
1515 Poydras Street, Suite 1400
New Orleans, LA 70112 _
Telephone: (504) 561-1006
Facsimile: (504) 523-0699
Email: dean@favretlaw.com

Email: angela@favretlaw.com
Attorneys for Plaintiff

 

 

DIONNIS GUEVARA-FIGUERDO

2562 W. BERRY STREET
ODESSA, TEXAS 79766

 
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 23 of 83

VERIFICATION

STATE OF

 

PARISH OF
BEFORE ME, the undersigned authority, personally came and appeared:
DIONNIS GUEVARA-FIGUERDO |
who, after being duly sworn, did depose and state that he has read the foregoing Answers
to Interrogatories and Responses to Request for Production of Documents and that same

are triie and correct according to his information, knowledge and belief.

 

DIONNIS GUEVARA-FIGUERDO

Sworn to and subscribed before me
this day of _, 2021.

 

 

NOTARY PUBLIC
NOTARY LD. #:

 
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 24 of 83

40™ JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA

CIVIL ACTION NO. 97 Ie DIVISION ” “CL

Eliana DeFrancesch - Clerk of Court
Filed: Oct 01, 2021 3:16 PM ERIC M. GAUFF, JR.

UAIOOVE AN WY AC a -versus-
134649748

PROGRESSIVE SECURITY INSURANCE COMPANY, DIONNIS GUEVARA-
FIGUERDO AND DGF TRANSPORT LLC

 

 

 

FILED:
| DEPUTY CLERK
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I
INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
TO: DGF TRANSPORT LLC
2562 W. BERRY STREET
ODESSA, TEXAS 79766

~

COMES NI ow, Plaintifé, ERIC M. GAUFF, JR., through undersigned counsel, and
directs the following Interrogatories and Request for Production of Documents to
defendant, DGF TRANSPORT LLC, to be answered under } oath within the delays
provided by the Louisiana Code of Civil Procedure:

INTERROGATORY NO. 1:

For each policy of insurance providing insurance coverage for the
incident/ accident involved in this suit state:

a. The name of the insurer;

b. The limits of coverage for liability, UM, med pay, property damage

and property damage liability;

c. Whether you deny coverage or assert any exclusions; if your answer

is yes, the factual basis for your denial of coverage or assertion of
exclusions; and

d. Identify any umbrella or excess policies of insurance along with

|
name of insurer and limits of coverage.

INTERROGATORY NO. 2:

State the version of the accident as related to DGF TRANSPORT LLC.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 25 of 83

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INTERROGATORY NO. 3:

Do you allege that plaintiff was at fault in causing the accident? If your answer is
yes, state the factual basis for any allegation that plaintiff was at fault or contributed to

the accident.

|
INTERROGATORY NO. 4:

List each and every defense you allege to plaintiff’s claims for bodily injury,
medical expenses, property damage, loss of income, disability, scarring, mental anguish,

loss of consortium or'any other claim for damages made by plaintiff. .For each defense
|

you list, state the factual basis on which you assert this defense.
INTERROGATORY NO. 5:

State whether’ DIONNIS GUEVARA-FIGUERDO was in the employ of DGF
TRANSPORT LLC, at the time of the subject accident and, if so, whether the accident
occurred while the said DIONNIS GUEVARA-FIGUERDO was on duty or performing a
job related function.

INTERROGATORY N O. 6:

If the said DIONNIS GUEVARA-FIGUERDO was not employed by DGF
TRANSPORT LLC, at the time of the accident, please state the name of the company or
companies by whom he was employed and state whether or not he was in the course and
scope of his employment with said company or companies at the time of the subject
accident.

INTERROGATORY NO. 7:

Please describe each and every other vehicle accident reported to you by the said
DIONNIS GUEVARA-FIGUERDO where DIONNIS GUEVARA-FIGUERDO was
involved as a driver, providing the date, location and a description of how the accident
occurred.

INTERROGATORY NO. 8:

State whether DIONNIS GUEVARA-FIGUERDO received a citation for the

accident at issue and, if so, whether said citation was paid and, if not, how same was

resolved.

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 26 of 83

" INTERROGATORY NO. 9:

List any and i restrictions that you are aware of that DIONNIS GUEVARA-
FIGUERDO has affecting his ability to drive or in connection with his license to drive,
including any restrictions on his eyesight, movement, mental condition, medical
condition, or any other conditions which would restrict or affect his driving.

|
|
INTERROGATORY NO. 10:

List each and every arrest, plea or conviction that you are aware of that DIONNIS
GUEVARA-FIGUERDO has been involved in or has incurred in the past.
INTERROGATORY NO. 11:

Please list the last known address and telephone number of DIONNIS GUEVARA-
FIGUERDO and the date of the last contact between DGF TRANSPORT LLC, and
DIONNIS GUEVARA-FIGUERDO.

INTERROGATORY NO. 12:

Please state the name, address and telephone number of the registered owner of
the vehicle involved in the subject accident.
INTERROGATORY NO, 13:

Please state whether DIONNIS GUEVARA-FIGUERDO was driving the vehicle
involved in the subject accident with the full knowledge, consent and permission of the
owner of the vehicle owned by your company.

INTERROGATORY NO. 14:

State the name of every person or entity which you know has any information, or
may testify, or has contacted you regarding this case in connection with the following
issues: }

For each PERSON OR ENTITY state (1) address, employment, phone number; (2)
whether they will be called as a witness at trial; and (3) provide a detailed factual
description of the information they possess or the testimony they will be providing.

a. Insurance coverage in effect providing coverage to you or your

insured and any asserted exclusions or denial of coverage;
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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 27 of 83

Any property damage involving any of the vehicles involved in this
suit, the appraisal of property damage, estimates, photographs,
repair and payment of property damage;

The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to evaluate bodily

injury, property damage, med pay or any other claim for payment;

Relating to the incident/accident and its occurrence, including
eyewitnesses, its investigation, investigative officers, accident
reconstruction, or other information concerning the accident and the
cause of it;

Regarding plaintiff’s bodily injury claim or any assertion by you that
plaintiff's injuries, in whole or in part, were not caused by the
accident at issue;

Regarding plaintiff's claim for loss of income and any assertion by
you that plaintiff has not lost all or a part of his income or will not
lose income in the future as a result of this incident; and

Any information regarding any allegation by you that plaintiff's

own negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 15:

Describe every DOCUMENT OR THING which you know has any information

in connection with the following issues:

For each DOCUMENT OR THING include: (1) each and every photograph,

video, writing, notation, radiographic film, thing, exhibit or any other item of evidence;

(2) describe it by its title or a description of it; and (3) state who has possession of it.

a.

Insurance coverage in effect providing coverage to you or your
insured and any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this
suit, the appraisal of property damage, estimates, photographs,
repair and payment of property damage;

'

|
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 28 of 83

c. The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to evaluate bodily
injury, property damage, med pay, or any other claim for payment;

d. Relating to the incident/accident and its occurrence, including
eyewitnesses, its investigation, investigative officers, accident
reconstruction, or other information concerning the accident and the
cause of it; |

e, Regarding plaintiff's bodily injury claims or any assertion by you
that plaintiff's injuries, in whole or in part, were not caused by the
accident at issue;

f. Regarding plaintiff's claim for loss of income and any assertion by
you that plaintiff has not lost all or a part of his income or will not
lose income in the future as a result of this incident; and

g. Any information regarding any allegation by you that plaintiff's
own negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 16:

State whether you or your attorney or any third party have in your possession any
still photographs or video surveillance tapes of plaintiff, ERIC M. GAUFF, JR., and, if so,
state:

a, The date that all photographs and/or video surveillance were taken;

b. The name, address and telephone number of any and all individuals

who took the photographs and/or filmed the surveillance video; and

c. All locations in which any of the above listed plaintiff was

photographed and/or under video surveillance.
INTERROGATORY NO. 17:
If the above referred to DIONNIS GUEVARA-FIGUERDO was employed by your

company at the time of the accident, please state whether or not he is still employed by

DGF TRANSPORT LLC, and, if not, please state the date of the termination and the

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reason or reasons for; the termination.

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 29 of 83

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INTERROGATORY NO. 18:
List the name, address and telephone number of all individuals who gave an audio
recorded statement, and the name, address and telephone number of all adjusters who

took audio recorded statements of any witness or party involving the subject accident.

REQUEST FOR PRODUCTION OF DOCUMENTS
REQUEST FOR PRODUCTION NO. 1:

Produce each and every:

a. Document, photograph, video, writing, notation, radiographic film,
thing, exhibit, or any other item of evidence referred in your answers
to the preceding Interrogatories. For every photograph, slide or
illustration, please attach a color copy. (Your reasonable
reproduction cost for color copies will be immediately paid by
counsel upon receipt of invoice.)

b. Any document or evidence which you intend to produce as an
exhibit at the trial of this case;

c. A certified copy of all policies of insurance in existence at the time of
the incident/accident providing applicable insurance coverage for
the incident/ accident involved in this suit; and

d. Any other document, photograph, video, writing, notation,
radiographic film, thing, exhibit or any other item of evidence
having any information pertaining to plaintiff's claims, defendants’
defenses, any counter claim or any other claim in this suit in your
possession.

REQUEST FOR PRODUCTION NO. 2:
Produce duplicate photographs and duplicate videos depicting any and all

photographs and video surveillance of plaintiff, ERIC M. GAUFF, JR.

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 30 of 83

REQUEST FOR PRODUCTION NO. 3:

Produce a copy of DIONNIS GUEVARA-FIGUERDO'’S driver's license.
REQUEST FOR PRODUCTION NO. 4:

Produce audio recorded statements pursuant to Landis v. Moreau, 779 So.2d 691 (La.
2001).
REQUEST FOR PRODUCTION NO. 5:

Produce transcripts of all recorded statements of any witness of party related to
the subject accident pursuant to Landis v. Moreau, 779 So.2d 691 (La. 2001).
REQUEST FOR PRODUCTION NO. 6:

Produce copies of all transcripts and all written statements prepared by any
individual with knowledge concerning the subject accident.
REQUEST FOR PRODUCTION NO. 7:

Produce any and all exhibits listed, described, referred to and requested to be
produced in answering the preceding set of Interrogatories.
REQUEST FOR PRODUCTION NO. 8:

Pursuant to the Louisiana Code of Civil Procedure Article 1458, the attached
Verification, signed and notarized.

THESE INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS ARE DEEMED CONTINUING AND SHOULD BE SUPPLEMENTED
REASONABLY IF AND WHEN YOU OR YOUR AGENT ARE IN POSSESSION OF

PHOTOGRAPHIC SURVEILLANCE OR VIDEO SURVEILLANCE.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 31 of 83

PLEASE SERVE:

Respectfully submitted,

  
   
      
  

  
  

 

NL pha Ea H186

P} J. RU Bar #8806
SETH HLASCHAUMBURG, Bar #24636
ANGELA C. IMBORNONE, Bar #19631
LAUREN A. FAVRET, Bar #33826
1515 Poydras Street, Suite 1400
New Orleans, Louisiana 70112
Telephone: (504) 561-1006
Facsimile: (504) 523-0699
Email: dean@favretlaw.com

Email: angela@favretlaw.com
Attorneys for Plaintiff

THROUGH THE LOUISIANA LONG-ARM STATUTE

DGF TRANSPORT LLC
2562 W. BERRY STREET
ODESSA, TEXAS 79766
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 32 of 83

VERIFICATION

STATE OF

 

PARISH OF

 

BEFORE ME, the undersigned authority, personally came and appeared:

DGF TRANSPORT LLC
Through his undersigned representative,

who, after being duly sworn, did depose and state that he has read the foregoing Answers
to Interrogatories and Responses to Request for Production of Documents and that same
are true and correct according to his information, knowledge and belief.

DGF TRANSPORT LLC

By:

 

Printed Name:

 

Title:

SWORN TO AND SUBSCRIBED BEFORE ME
THIS DAY OF 2021.

 

 

NOTARY PUBLIC
NOTARY LD. #

 
Eliana DeFrancesch - Clerk of Court

Filed: Oct 29,2021 11:32 AM

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 33 of 83

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D55657480
CITATIO!
ERIC M.GAUFFJR 40TH JUDICIAL DISTRICT COURT
vs PARISH OF ST.JOHN THE BAPTIST
PROGRESSIVE SECURITY STATE OF LOUISIANA
INSURANCE COMPANY, ET AL
DOCKET NUMBER: C-77169 DIVISION: C

* 134700038

UOTE) MANOA RET TN

 

To: PROGRESSIVE SECURITY INSURANCE COMPANY
THROUGH THE LOUISIANA SECRETARY OF STATE
8585 ARCHIVES AVENUE

BATON ROUGE, LA 70809

Parish: E. BATON ROUGE

 

 

 

 

 

 

 

 

 

 

RETURNED: PARISH OF THIS DAY OF

 

 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 34 of 83

Favret, Demarest, Russo, Lutkewitte & Schaumburg

A Professional Law Corporation ou

 

 

Suite 1400 Charles A. Imbornone
Anthony J. Russo 1515 Poydras Street
Dean ewe New Orleans, Louisiana 70112 Clarence F, Favret, Sr.
Seth H. Schaumb . (504) 561-1006 1896-1988
Angela Imbornow: Telecopier (504) 523-0699 1 Paul Demarest
Conor T. Lutkewitte . 4942-2007
Lauren A. Favret Writer's e-mail address:
dean@favretlaw.com Marshall J. Favret
. 1935-2014
December 8, 2021
VIA HRSECLASS MALL Sia petrancesch cert of Cou
CLERK OF COURT, 40TH JUDICIAL DISRICT COURT - ' .
FOR THE PARISH OF ST. JOHN THE BAPTIST FULT
P.O. BOX 280 134756378
EDGARD, LA 70049
RE: _ Eric M. Gauff, Jr. v. Progressive Security Ins. Co., et al
40% JDC, Civil Action No. 77169 “C”
Parish of St. John the Baptist
Dear Sir/Madam:

Enclosed please find an original and 2 copies of a First Amending Petition for

Damages which we would appreciate your filing into the record, and forwarding to Judge
Snowdy for his signature.

Also enclosed are 2 Affidavits of Service which we would appreciate your filing
into the record in the above-referenced matter. We have enclosed a self-addressed
stamped envelope to receive conformed copies. Additionally, our firm check in the
amount of $376.00 is enclosed to cover the Court costs.

Thank you for your kind assistance.

Yo

  

DJF/st
Enclosures
Nat G. Kiefer, Esq. (w/éncl. nkie@kieferlaw.com)
jeFrancesch.- Clerk.of Court---------—~- —-----———-_____-__. —-.
Filed: Dec 13, 2021 11:52 AM

. Eliana D

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 35 of 83

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ERIC M. GAUFF, JR. 40TH JUDICIAL DISTRICT COURT

VERSUS PARISH OF ST. JOHN THE BAPTIST
PROGRESSIVE SECURITY STATE OF LOUISIANA
INSURANCE COMPANY, ET AL

DOCKET NO. 77169 DIVISION “C”

 

FIRST AMENDING PETITION FOR DAMAGES

 

NOW INTO COURT, through undersigned counsel, comes Plaintiff, ERIC M.
GAUFF, JR., of age and domiciled in the Parish of St. Charles, State of Louisiana,
respectfully desire to amend the original Petition for Damages as follows:
1.
By amending the caption of the original Petition for Damages to state as follows:
“ERIC M. GAUFF, JR.
-versus-

PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY,
DIONNIS GUEVARA-FIGUERDO AND DGF TRANSPORT LLC”

2.
By amending the original Petition for Damages by substituting Paragraph I a. to

state as follows:

“Ta. PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY, a
foreign insurer not authorized but doing business in the State of
Louisiana.”

3.
By amending paragraph VI. to state as follows:
“NVI.

On the date of the crash, there was in full force and effect a policy of insurance

issued by Defendant, PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY to

; Defendants, DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC, which

' policy of insurance affords coverage for the type of crash sued upon herein.
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 36 of 83

4.
PETITIONER renews and reiterates all of the allegations set forth in the original
Petition for Damages as amended herein.
5.
Petitioner desires to amend the prayer of the original Petition for Damages to
state as follows:
“WHEREFORE, Plaintiff prays that after all legal delays and due proceedings
had that there be Judgment herein in favor of Plaintiff, ERIC M. GAUFE, JR., and
against the Defendants, PROGRESSIVE COUNTY MUTUAL INSURANCE
COMPANY, DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC,
jointly and in solido, in an amount to be set by this Honorable Coutt, together
with legal interest thereon from date of judicial demand, until paid, and for all
costs of these proceedings.”

WHEREFORE, plaintiff prays:

1. For leave of Court to file this First Amending Petition;

2. That after all legal delays and due proceedings had that there be
. Judgment herein in favor of Plaintiff, ERIC M. GAUFF, JR., and against the Defendants,
: PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY, DIONNIS GUEVARA-
! FIGUERDO and DGF TRANSPORT LLC, jointly and in solido, in an amount to be set by

| this Honorable Court, together with legal interest thereon from date of judicial demand,

   

 

DEAN J. FAVRET, Bar/#20186

ANGELA C. IMRORMONE, Bar #19631

SETH H. SCHAUMBURG, Bar #24636

LAUREN A. FAVRET, Bar #33826

1515 Poydras Street, Suite 1400

New Orleans, LA 70112

Telephone: (504) 561-1006; Facsimile: (504) 523-0699
Email: dean@favretlaw.com;

Email: angela@favretlaw.com
Attorneys for Plaintiff

 

2
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 37 of 83

ERIC M. GAUFF, JR. 40TH JUDICIAL DISTRICT COURT
VERSUS PARISH OF ST. JOHN THE BAPTIST
_ PROGRESSIVE SECURITY STATE OF LOUISIANA
| INSURANCE COMPANY, ET AL
DOCKET NO. 77169 DIVISION “C”%

‘Eliana DeFrancesch—Clerk-of-Geurt
Filed: Dec 13, 2021 11:52 AM

UAE HO CE ORDER

134762335

 

 

Considering the above and foregoing;

IT IS ORDERED that the First Amending Petition for Damages be filed herein.

Laplace, Louisiana this the day of , 2021.

 

40 JUDICIAL DISTRICT COURT JUDGE

|
| . ;
' PLEASE SERVE THE ORIGINAL PETITION FOR DAMAGES AND THE FIRST
AMENDING PETITION FOR DAMAGES:

PROGRESSIVE COUNTY MUTUAL INS. CO. - PLEASE HOLD SERVICE

PLEASE SERVE THE FIRST AMENDING PETITION FOR DAMAGES:
PROGRESSIVE SECURITY INSURANCE COMPANY - PLEASE HOLD SERVICE
i

THROUGH THE LOUISIANA LONG ARM STATUTE - PLEASE HOLD SERVICE
DIONNIS GUEVARA-FIGUERDO

THROUGH THE LOUISIANA LONG ARM STATUTE - PLEASE HOLD SERVICE
DGF TRANSPORT LLC

 

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PU TL
134762343

“Filed: Dec-13, 2021 11:52 AM

Eliana DeFrancesch - Clerk of Court

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 38 of 83

40TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA
CIVIL ACTION NO. 77169 DIVISION “C“
ERIC M. GAUEF, JR.

-versus-

PROGRESSIVE SECURITY INSURANCE COMPANY, .
DIONNIS GUEVARA-FIGUERDO AND DGF TRANSPORT LLC

FILED:

 

 

DEPUTY CLERK

INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS

TO: PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY

Through the Secretary of State

State of Louisiana

8585 Archives Avenue

Baton Rouge, LA 70809

Plaintiff, ERIC M. GAUFF, JR., directs the following Interrogatories and Request
for Production of Documents to defendant, PROGRESSIVE COUNTY MUTUAL
INSURANCE COMPANY, to be answered under oath within the delays provided by

__ the Louisiana Code of Civil Procedure.

' INTERROGATORY NO. 1:

 

For each policy of insurance providing insurance coverage for the incident/crash

involved in this suit state:
a. The name of the insurer;
b. The limits of coverage for liability, UM, med pay, property damage and
property damage liability;
c. Whether you deny coverage or assert any exclusions; if your answer is
yes, the factual basis for your denial of coverage or assertion of exclusions;
d. Identify any umbrella or excess policies of insurance along with name of

insurer and limits of coverage.
 

 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 39 of 83

INTERROGATORY NO. 2:

State your insured’s version of the incident/ crash at issue.
INTERROGATORY NO. 3:

Do you allege that plaintiff was at fault in causing the crash? If your answer is
yes, state the factual basis for any allegation that plaintiff was at fault or contributed to
the crash.

INTERROGATORY NO. 4:

List each and every defense you allege to plaintiff's claims for bodily injury,
medical expenses, property damage, loss of income, disability, scarring, mental
anguish, loss of consortium or any other claim for damages made by plaintiff. For each
defense you list, state the factual basis on which you assert this defense.
INTERROGATORY NO. 5:

State whether DIONNIS GUEVARA-FIGUERDO, was employed at the time of

the incident/crash and, if so, whether the incident/crash occurred while he was on

: duty or performing a job related function.

INTERROGATORY NO. 6:

List any and all restrictions that you are aware of that DIONNIS GUEVARA-
FIGUERDO has affecting his ability to drive or in connection with his license to drive,
including any restrictions on his eyesight, movement, mental condition, medical
condition, or any other conditions which would restrict or affect his driving.
INTERROGATORY NO. 7:

List and describe each and every other vehicular crash that you have knowledge
of that DIONNIS GUEVARA-FIGUERDO has ever been involved in as a driver

providing the date, location and how the crash occurred.

. INTERROGATORY NO. 8:

State whether DIONNIS GUEVARA-FIGUERDO received a citation for the

. incident/crash at issue and, if so, whether he paid the citation and, if not, how it was

resolved.
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 40 of 83

INTERROGATORY NO. 9:

List each and every arrest, plea or conviction that you are aware of that

DIONNIS GUEVARA-FIGUERDO has been involved in or has incurred in the past.

INTERROGATORY NO. 10:

State the name of every person or entity which you know has any information, or

may testify, or has contacted you regarding this case in connection with the following

issues:

For each PERSON OR ENTITY state (1) address, employment, phone number;

(2) whether they will be called as a witness at trial; and (3) provide a detailed factual

a.

_ description of the information they possess or the testimony they will be providing.

Insurance coverage in effect providing coverage to you or your insured
and any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit,
the appraisal of property damage, estimates, photographs, repair and
payment of property damage;

The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to evaluate bodily injury,
property damage, med pay or any other claim for payment;

Relating to the incident/crash and its occurrence, including eyewitnesses,
its investigation, investigative officers, crash reconstruction, or other
information concerning the crash and the cause of it;

Regarding plaintiff's bodily injury claim or any assertion by you that
plaintiff's injuries, in whole or in part, were not caused by the crash at
issue;

Regarding plaintiff's claim for loss of income and any assertion by you
that plaintiff has not lost all or a part of his income or will not lose income

in the future as a result of this incident;
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 41 of 83

£-

Any information regarding any allegation by you that plaintiffs own

negligence caused or contributed to the crash at issue.

INTERROGATORY NO. 11:

Describe every DOCUMENT OR THING which you know has any information

in connection with the following issues:

For each DOCUMENT OR THING include: (1) each and every photograph,

video, writing, notation, radiographic film, thing, exhibit or any other item of evidence;

(2) describe it by its title or a description of it; and (3) state who has possession of it.

a.

Insurance coverage in effect providing coverage to you or your insured
and any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit,
the appraisal of property damage, estimates, photographs, repair and
payment of property damage;

The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to evaluate bodily injury,
property damage, med pay, or any other claim for payment;

Relating to the incident/crash and its occurrence, including eyewitnesses,
its investigation, investigative officers, crash reconstruction, or other
information concerning the crash and the cause of it;

Regarding plaintiffs bodily injury claims or any assertion by you that
plaintiff's injuries, in whole or in part, were not caused by the crash at
issue;

Regarding plaintiffs claim for loss of income and any assertion by you
that plaintiff has not lost all or a part of his income or will not lose income
in the future as a result of this incident;

Any information regarding any allegation by you that plaintiff's own

negligence caused or contributed to the crash at issue.
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 42 of 83

INTERROGATORY NO, 12:
State whether you or your attorney or any third party have in your possession
any still photographs or video surveillance tapes of plaintiff, ERIC M. GAUFF, JR., and,

if so, state:

a. The date that all photographs and/or video surveillance were taken;

b. The name, address and telephone number of any and all individuals who
took the photographs and/or filmed the surveillance video;

C. All locations in which any of the above listed plaintiff was photographed

and/or under video surveillance.

: INTERROGATORY NO. 13:

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Please list the last known address and telephone number of DIONNIS
GUEVARA-FIGUERDO and the date of the last contact between you and DIONNIS
GUEVARA-FIGUERDO.

INTERROGATORY NO. 14:

Please state the name, address and telephone number of the registered owner of
the vehicle involved in the subject crash.
INTERROGATORY NO. 15:

Please state whether DIONNIS GUEVARA-FIGUERDO was driving the vehicle
involved in the subject crash with the full knowledge, consent and permission of the
owner of the vehicle insured by your company.

INTERROGATORY NO. 16:

Please state whether DIONNIS GUEVARA-FIGUERDO was in the course and
scope of any employment at the time of the subject crash and, if so, please state the
name, address and telephone of his employer.

INTERROGATORY NO. 17:
With respect to any expert witness you expect to call at trial, please:

a, Give a complete statement of all opinions to be expressed and the

basis of reasons therefore;
ere,

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 43 of 83

Identify the data or other information considered by the witness
informing the opinions;

Describe and produce any exhibits to be used as a summary of or
support for the opinions;

State the qualifications of the witness, including a list of all
publications authored by the witness within the preceding ten (10)
years (please produce a current curriculum vitae if available);
Describe the compensation to be paid for the study and -
testimony / testimonies;

Provide a listing (by jurisdiction, caption, and case number if
available) of any other cases in which the witness testified as an
expert at trial or by deposition within the preceding four (4) years,
indicating the side or party for whom the witness testified and the
attorney representing such party;

State the number of cases on which the witness has previously
consulted with the counsel or firm retaining that expert in this case,
and identify the case/cases if the testimony occurred within the last
four (4) years;

State the number of cases in which the witness has previously
testified in that position, hearing or trial on behalf of a party
represented by the counsel or firm retaining that expert in this case,
and identify the case/cases if the testimony occurred within the last
four (4) years;

Provide a listing of any medical, professional or technical literature
that the witness has read in connection with this case;

Provide a listing of the books in the witness’ possession or control

that relate to the subject matter of the witness’ testimony;
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 44 of 83

Provide a listing of the professional journals to which the witness
has subscribed during the past four (4) years; and

State whether the expert knows the party/parties on whose behalf
the expert is testifying and describe any personal, professional or

social relationship between the expert and such party.

INTERROGATORY NO. 18:

List the name, address and telephone number of all individuals who gave an

audio recorded statement, and the name, address and telephone number of all adjusters

who took audio recorded statements of any witness or party involving the subject crash.

REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 1:

Produce each and every:

a.

Document, photograph, video, writing, notation, radiographic film, thing,
exhibit, or any other item of evidence referred in your answers to the
preceding Interrogatories. For every photograph, slide or illustration,
please attach a color copy. (Your reasonable reproduction cost for color
copies will be immediately paid by counsel upon receipt of invoice.)

Any document or evidence which you intend to produce as an exhibit at
the trial of this case;

A certified copy of all policies of insurance in existence at the time of the
incident/crash providing applicable insurance coverage for the
incident/ crash involved in this suit;

Any other document, photograph, video, writing, notation, radiographic
film, thing, exhibit or any other item of evidence having any information
pertaining to plaintiff's claims, defendants’ defenses, any counter claim or

any other claim in this suit in your possession.
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 45 of 83

REQUEST FOR PRODUCTION NO. 2:

Produce duplicate photographs and duplicate videos depicting any and all
photographs and video surveillance of plaintiff, ERIC M. GAUFF, JR.
REQUEST FOR PRODUCTION NO. 3:

Produce audio recorded statements pursuant to Landis v. Moreau, 779 So2d 691
(La. 2001).
REQUEST FOR PRODUCTION NO. 4:

Produce transcripts of all recorded statements of any witness of party related to

the subject crash pursuant to Landis v. Moreau, 779 So2d 691 (La. 2001).

_ REQUEST FOR PRODUCTION NO.5:

Produce copies of all transcripts and all written statements prepared by any
individual with knowledge concerning the subject crash.
REQUEST FOR PRODUCTION NO. 6:
Produce a copy of DIONNIS GUEVARA-FIGUERDO’s driver's license.
REQUEST FOR PRODUCTION NO. 7:
Regarding the experts listed in your Answer to Interrogatory No. 17, please
produce the following documents:
a. All documents provided to any expert witness whom you expect to
call at trial, including records, reports, literature, memoranda, or
any other documents prepared by you or your attorney;
b. All records of attendance and continuing medical education
courses for the witness for the previous (5) years;
C. The witness’ most recent curriculum vitae;
d. Any literature file maintained by the witness of articles, treatises,

pamphlets, and the like concerning any subjects related to this

litigation;
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 46 of 83

e. Any articles, treatises, books, speeches, or other writings, whether
published or unpublished, that the witness has or delivered on the
topic for which the witness is testifying in this matter;

f. Transcripts of any testimony the witness has given in any case as
an expert witness on any topic;

g. All transcripts and/or testimony, whether by deposition or in
court, given by the witness in any case in which the witness was a
defendant concerning any issues relevant to this case;

h. All medical literature, articles, treatises, pamphlets, videotapes,
educational materials of any kind, or instructions used or relied
upon the witness concerning the IME performed on plaintiff; and

i. As to each expert witness whom you expect to call at trial:

1. All documents provided to such experts in connection
with this case, including records, reports, literature,
memoranda, and/or any other documents;

2. Any records, reports, notes, memoranda, bills,
correspondence, or any other documents prepared by
any expert witness in connection with this case;

3. Copies of any manuscripts, drafts, galleys, outlines,
slides and the like, concerning any oral or written
presentations made by the expert on any subject
relevant to this case which are not in the public
domain,

4, Transcripts of any deposition(s) or trail testimony in
the expert's possession or control on any subject
relevant to this case;

5. A current CV for each such expert; and
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 47 of 83

6. Any exhibits prepared by or with the assistance of the
expert which are intended to illustrate aspects of the
expert’s testimony. '
REQUEST FOR PRODUCTION NO. 8:
Pursuant to the Louisiana Code of Civil Procedure Article 1458, the attached
Verification, signed and notarized.
THESE INTERROGATORIES AND REQUEST FOR PRODUCTION OF

DOCUMENTS ARE DEEMED CONTINUING AND SHOULD BE SUPPLEMENTED

_ REASONABLY IF AND WHEN YOU OR YOUR AGENT ARE IN POSSESSION OF

PHOTOGRAPHIC SURVEILLANCE OR VIDEO SURVEILLANCE.

 

 

NY I
DEA #20186
ANTH J. RUSH, Bar #8806
SETH H\SCHAUNBURG, Bar #24636
ANGELA C. IMBORNONE, Bar #19631
LAUREN A. FAVRET, Bar #33826
1515 Poydras Street, Suite 1400
New Orleans, LA 70112
Telephone: (504) 561-1006
Facsimile: (504) 523-0699
Email: dean@favretlaw.com

Email: angela@favretlaw.com
Attorneys for Plaintiff

PLEASE HOLD SERVICE

PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY
Through the Secretary of State

State of Louisiana

8585 Archives Avenue

Baton Rouge, LA 70809

10
 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 48 of 83

VERIFICATION

. STATE OF

 

' PARISH OF

 

BEFORE ME, the undersigned authority, personally came and appeared:

PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY
Through its undersigned representative,

who, after being duly sworn, did depose and state that he/she has read the foregoing

. Answers to Interrogatories and Responses to Request for Production of Documents and

that same are true and correct according to his/her information, knowledge and belief.

PROGRESSIVE COUNTY MUTUAL INSURANCE COMPANY

By:

 

Printed Name:

 

Title: |

/ SWORN TO AND SUBSCRIBED BEFORE ME

' THIS DAY OF

20__.

 

 

NOTARY PUBLIC
NOTARY LD.

soy
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 49 of 83

ERIC M. GAUFF, JR. 40TH JUDICIAL DISTRICT COURT
| VERSUS PARISH OF ST. JOHN THE BAPTIST
i ’ PROGRESSIVE SECURITY STATE OF LOUISIANA
i INSURANCE COMPANY, ET AL
DOCKET NO. 77169 DIVISION “C”%

1 eee
j Eliana DeFrancesch - Clerk of Court
Filed: Dec 13, 2021 11:52 AM

CE TTA

134762359 AFFIDAVIT OF SERVICE

 

 

STATE OF LOUISIANA
PARISH OF ORLEANS

BEFORE ME, the undersigned authority, personally came and appeared:

DEAN J. FAVRET

who, after being duly sworn, deposed and said:

That he is the attorney for plaintiff, ERIC M. GAUFF, JR.

That a Petition for Damages was filed on behalf of the plaintiff on October
1, 2021;

That he caused to be typed correspondence dated October 22, 2021, which
accompanied a Citation, Petition for Damages, Interrogatories and Request for
Production of Documents in these proceedings and which were forwarded by

Certified Mail, Return Receipt Requested No. 70170190000068588381, to

 

defendant, Dionnis Guevara-Figuerdo, 2562 W. Berry Street, Odessa, Texas

79766; |

That the original return receipt is dated November 3, 2021, unsigned due

to COVID, however the U.S. Postmaster delivered the Certified Mail to an
| individual at 2562 W. Berry Street, Odessa, Texas 79766;

That a copy of the Citation, Petition for Damages, Interrogatories, Request

for Production of Documents, correspondence, Certified Return Receipt and

Tracking of the Postmaster are attached;
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 50 of 83

herein.

 

 

SWORN TO ADH) SUBSCRIBED BEFORE ME
THIS 8 DAY OF DECEMBER, 2021.

ANGELA C. YMBORNONEL
NOTARY PUBLIC - My Commission is for Life
BAR ROLL #19631
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 51 of 83

11/18/21, 5:13 PM . USPS.com® - USPS Tracking® Results

USPS Tracking® ) FAQS >

Track Another Package X

 

Enter up to 35 tracking numbers separated by commas or enter a barcode number

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Your item was delivered to an individual at the address at 11:20 am on November 3, 2021 in
ODESSA, TX 79766.

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November 3, 2021 at 11:20 am
ODESSA, TX 79766

Get Updates vv

 

 

 

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Tracking History Vv
.Product Information Vv

 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 52 of 83

 

 

   

 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 53 of 83

Favret, Demarest, Russo, Lutkewitte & Schaumburg

A Professional Law Corporation

: Of Counsel
Anthony J. Russo Suite 1400 . Charles A, Imbornone
‘ . 1515 Poydras Street
Den ea ewite New Orleans, Louisiana 70112 Clarence F, Favret, Sr.
Seth H. Schaumb (504) 561-1006 1896-1988
ung .
Angela C. Imbornone Telecopier (504) 523-0699
Conor T, Lutkewitte J. Paul Demarest
Lauren A. Favret Writer's e-mail address: 1942-2007
& Wretaw.co Marshall J. Favret
1935-2014
October 22, 2021

VIA CERTIFIED MAIL - RETURN RECEIPT NO.: 70170190000068588381
DIONNIS GUEVARA-FIGUERDO

2562 W. BERRY STREET

ODESSA, TEXAS 79766

 

RE; = Eric M. Gaufy, Jr. v. Progressive Security Insurance Co.
40TH Judicial District Court, St. John the Baptist Parish No.:

 

Dear Dionnis Guevara-Figuerdo:

 

Enclosed please find a Citation and Petition for Damages, Interrogatories and Request for
Production of Documents which are being served upon you under the provisions of the Louisiana
Long-Arm Statute R.S. 13:3201. |

Under the provisions of this Statute you have thirty (30) days within which to file
responsive pleadings from date of receipt.

With kind regards, I remain

 

 

DJF/st

Enclosures
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 54 of 83

D55657530

D55657530

CITATION - LONG ARM STATUTE

ERIC M. GAUFF JR 40TH JUDICIAL DISTRICT COURT
VS PARISH OF ST. JOHN THE BAPTIST

PROGRESSIVE SECURITY STATE OF LOUISIANA

INSURANCE COMPANY, ET AL

DOCKET NUMBER: C-77169 DIVISION: C

 

To: DIONNIS GUEVARA FIGUERDO
THROUGH THE LOUISIANAdLONG.ARM STATUTE
2562 W. BERRY SEREET
ODESSA, TEXAS - 79766

Parish: LONG-ARM STATUTE |

 

Tania

You are hereby summoned to comply with the demand contained in the Petition of which
a true and.correct copy-accompanies this citation, or make an appearance either by filing
an. Answer or other pleading to ‘said Petition;in.the Fortieth Judicial District Court in and
for the Parish of St. Johri the Baptist; State of Louisiana, within. thirty (30) days after the
servioe hereof, under penalty: of defalt, ,

ae

This service was ordered by DEAN 3. FAVRE, ESO. and swas issued by the Clerk of
Court on the OCTOBER i, 2021. .

* Also attached ate the. following documeitts:.

  

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PETITION I FOR DAMAGES...

INDRENESE. LM. fobs

Deputy Clerk of Court for

Eliana DeFrancesch,-Clerk of Court
RECEIVED ON;THE___-_ DAY OF 20 AND ON THE
DAY OF 0 _ SERVED TE iB ABOVE NAMED PARTY AS
FOLLOWS: ee

PERSONAL SERVICE ON THE. PARTY HEREIN NAMED

DOMICILIARY SERVICE ON THE PARTY HEREIN NAMED BY LEAVING THE SAME
AT HIS DOMICILE IN THE PARISH IN THE HANDS OF

, A PERSON APPARENTLY OVER THE AGE OF
SEVENTEEN YEARS, LIVING AND RESIDED IN SAID DOMICILE AND WHOSE NAME
AND OTHER FACTS CONNECTED WITH THIS SERVICE, I LEARNED BY
INTERROGATING THE SAID PERSON, SAID PARTY HEREIN BEING ABSENT FROM
HIS RESIDENCE AT THE TIME OF SAID SERVICE.

 

 

 

RETURNED: PARISH OF THIS DAY OF
, 20 . ©

SERVICE $ BY:

MILEAGE $ DEPUTY SHERIFF

TOTAL § ;

ORIGINAL — RETURN COPY — SERVICE COPY - CLERK
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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 55 of 83

40TH JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA
CIVIL ACTION NO. [U4 DIVISION “ @ SECTION ” “
ERIC M. GAUFF, JR.
-versus-

PROGRESSIVE SECURITY INSURANCE COMPANY,
DIONNIS GUEVARA-FIGUERDO AND DGF TRANSPORT LLC

: i. John the Baptist Parish Clerk of Court

 

Filed: LAPLACE, LOUISIANA ‘DEPUTY CLERK
Date: OCTOBER 1, 2021
Time:3:16 PM. perrTION FOR DAMAGES

 

NOW INTO COURT, through undersigned counsel, comes Plaintiff, ERIC M.
GAUFF, JR., of age and domiciled in the Parish of St. Charles, State of Louisiana, with
respect represents that: | |

I.

The following parties be made Defendants herein:

a. PROGRESSIVE SECURITY INSURANCE COMPANY, a domestic

insurer, domiciled in the State of Louisiana, authorized to do and

doing business in the State of Louisiana;

b. DIONNIS GUEVARA-FIGUERDO, of age and a resident of the -
State of Texas; and

c. | DGF TRANSPORT LLC, a limited liability company, domiciled in
Texas, not authorized to do but doing business in the State of
Louisiana.

I.

On October 23, 2020, at approximately 8:30 a.m., Plaintiff, ERIC GAUEF, JR., was
the owner and operator'of a 2016 Chevrolet Camaro, traveling in the left through lane of
southbound Louisiana Highway-3138, near its intersection with West Airline Highway,
which southbound Louisiana Highway 3188 traffic, at all material times herein was
controlled by a red traffic control signal, when Plaintiff, ERIC M. GAUFF, JR., brought

his vehicle to a gradual, safe and complete stop, due to the red traffic control signal, in

the City of LaPlace and Parish of St. John the Baptist, State of Louisiana.
ame

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 56 of 83

Il.

Defendant, DIONNIS GUEVARA-FIGUERDO, on that date, was the owner and
operator of a 2015 Volvo tractor trailer, traveling in the left turn lane on southbound
Louisiana Highway 3138, at that same location, traveling ‘adjacent to the GAUFF
vehicle, when suddenly and without warning, defendant, DIONNIS GUEVARA-
FIGUERDO, changed from the left turn lane into the left through lane and collided with
the GAUFF vehicle that was at a complete stop in the left through lane of southbound
Louisiana Highway 3138.

IV.

At all material times herein, Defendant DIONNIS GUEVARA-FIGUERDO, was
operating the 2015 Volvo tractor. trailer in the course and scope of his employment with
Defendant, DGF TRANSPORT LLC.

/ V.

Plaintiff shows that the crash was caused by the negligence of the Defendant,
DIONNIS GUEVARA-FIGUERDO, which negligence is imputed to his employer and
Defendant, DGF TRANSPORT LLC, which negligence consists of the following non-
exclusive particulars:

a. In the careless operation of a motor vehicle;

b. In failing to see what he should have seen;

C. In negligently changing lanes and colliding into the GAUFF
vehicle;

d. In driving inattentively; and

e. All those other acts of negligence known only to the Defendants,
DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC.

VI.
On the date of the crash, there was in full force and effect a policy of insurance
issued by Defendant, PROGRESSIVE SECURITY INSURANCE COMPANY to
Defendants, DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC, which

policy of insurance affords coverage for the type of crash sued upon herein.
 

 

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VIL
As a result of the crash, Plaintiff, ERIC M. GAUFF, JR., was injured.
VI.

As a result of the crash, the vehicle owned by Plaintiff, ERIC M. GAUFF, JR., was
damaged.

IX.

As a result of the crash, Plaintiff, ERIC M. GAUFF, JR., sustained damages
consisting of physical pain and suffering, past and future; mental, emotional and
psychological pain and suffering, past and future; medical expenses, past and future;
loss of enjoyment of life, past and future; permanent impairment; permanent disability;
loss of wages, past and future; and all other damages to be proven at Trial in this matter

WHEREFORE, Plaintiff, ERIC M. GAUFF, IR, prays that after all legal delays
and due proceedings had that there be Judgment herein in favor of Plaintiff, ERIC M.
GAUFF, JR., and against the Defendants, PROGRESSIVE SECURITY INSURANCE
COMPANY, DIONNIS GUEVARA-FIGUERDO and DGF TRANSPORT LLC, jointly
and in solido, in an amount to be set by this Honorable Court, together with legal
interest thereon from date of judicial demand, until paid, and for all costs of these

‘proceedings.

 

 

 

 

DEAN } FAVRE ar #20186

ANGELA C. IMBORNONE, Bar #19631

SETH H. SCHAUMBURG, Bar #24636

ANTHONY J. RUSSO, Bar #8806

LAUREN A. FAVRET, Bar #33826

1515 Poydras Street, Suite 1400

New Orleans, LA 70112

Telephone: (504) 561-1006; Facsimile: (504) 523-0699
Email: dean@favretlaw.com,

Email: angela@favretlaw.com
Attorneys for Plaintiff
PLEASE SERVE

PLEASE SEE NEXT PAGE FOR SERVICE INSTRUCTIONS

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 58 of 83

PLEASE SERVE:

PROGRESSIVE SECURITY INSURANCE COMPANY
THROUGH THE LOUISIANA SECRETARY OF STATE
8585 ARCHIVES AVENUE

BATON ROUGE, LA 70809

THROUGH THE LOUISIANA LONG ARM STATUTE
DIONNIS GUEVARA-FIGUERDO

2562 W. BERRY STREET

ODESSA, TEXAS 79766

THROUGH: THE LOUISIANA LONG ARM STATUTE
DGF TRANSPORT LLC

2562 W. BERRY STREET

ODESSA, TEXAS 79766
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 59 of 83

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407 JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA

ro CIVIL ACTION NO. 14) le4 DIVISION” “(C,
-liana DeFrancesch - Clerk of Court

led: Oct 01, 2021 3:16 PM

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134649698 ~versus~

~TTJ-- —-——-- =. kee

" ERIC M. GAUFF, JR. -

a

PROGRESSIVE SECURITY INSURANCE COMPANY, DIONNIS GUEVARA-
FIGUERDO AND DGF TRANSPORT LLC

FILED:

 

 

DEPUTY CLERK

INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS

i TO: DIONNIS GUEVARA-FIGUERDO

2562 W. BERRY STREET
ODESSA, TEXAS 79766

COMES NOW, Plaintiff, ERIC M. GAUFF, JR., through undersigned counsel, and
directs the following Interrogatories and Request for Production of Documents to
defendant, DIONNIS GUEVARA-FIGUERDO, to be answered under oath within the
delays provided by the Louisiana Code of Civil Procedure:

INTERROGATORY NO. 1:

For each policy of insurance providing insurance coverage for the
incident/ accident involved in this suit state:

a. The name of the insurer;

b. The limits of coverage for liability, UM, med pay, property damage and

property damage liability;

c. Whether you deny coverage or assert any exclusions; if your answer is yes, the

factual basis for your denial of coverage or assertion of exclusions; and

d. Identify any umbrella or excess policies of insurance along with name of

insurer and limits of coverage.

INTERROGATORY NO. 2:

State your version of the incident/ accident at issue.

 
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 60 of 83

INTERROGATORY NO. 3:

Do you allege that plaintiff was at fault in causing the accident? If your answer is
yes, state the factual basis for any allegation that plaintiff was at fault or contributed to
the accident. |
INTERROGATORY NO. 4:

List each and every defense you allege to plaintiffs claims for bodily injury,
medical expenses, property damage, loss of income, disability, scarring, mental anguish,
loss of consortium or any other claim for damages made by plaintiff. For each defense
you list, state the factual basis on which you assert this defense.

INTERROGATORY NO. 5:

State whether you were employed at the time of the incident/accident and, if so,
state the name, address and telephone number of your employer and state whether the
incident/ accident occurred while you were on duty or performing a job related function.
INTERROGATORY NO. 6:

List any and all restrictions that you are aware of that you have affecting your
ability to drive or in connection with your license to drive, including any restrictions on
your eyesight, movement, mental condition, medical condition, or any other conditions
which would restrict or affect your driving. ‘
INTERROGATORY NO. 7:

List and describe each and every other vehicular accident that you have

knowledge of that you have ever been involved in as a driver providing the date, location

and how the accident occurred,

- INTERROGATORY NO. 8:

State whether you received a citation for the incident/ accident at issue and, if so,
whether you paid the citation and, if not, how it was resolved. .
INTERROGATORY NO. 9:

List each and every arrest, plea or conviction that you are aware of that you have

been involved in or have incurred in the past.
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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 61 of 83

INTERROGATORY NO. 10:

State the name of every person or entity which you know has any information, or

may testify, or has contacted you regarding this case in connection with the following

issues:

N

For each PERSON OR ENTITY state (1) address, employment, phone number; (2)

whether they will be called as a witness at trial; and (3) provide a detailed factual

description of the information they possess or the testimony they will be providing.

a.

Insurance coverage in effect providing coverage to you or your insured and
any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit, the
appraisal of property damage, estimates, photographs, repair and payment of
property damage;

The adjuster assigned to handle this claim and any appraiser or independent
adjustment company assigned to evaluate bodily injury, property damage,
med pay or any other claim for payment;

Relating to the incident/accident and its occurrence, including eyewitnesses,
its investigation, investigative officers, accident reconstruction, or other
information concerning the accident and the cause of it;

Regarding plaintiff's bodily injury claim or any assertion by you that plaintiff's
injuries, in whole or in part, were not caused by the accident at issue;
Regarding plaintiff's claim for loss of income and any assertion by you that
plaintiff has not lost all or a part of his income or will not lose income in the
future as a result of this incident;

Any information regarding any allegation by you that plaintiff's own

negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 11:

Describe every DOCUMENT OR THING which you know has any information

in connection with the following issues:
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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 62 of 83

For each DOCUMENT OR THING include: (1) each and every photograph,

video, writing, notation, radiographic film, thing, exhibit or any other item of evidence;

(2) describe it by its title or a description of it; and (3) state who has possession of it.

a.

Insurance coverage in effect providing coverage to you or your insured and
any asserted exclusions or denial of coverage;

Any property damage involving any of the vehicles involved in this suit, the
appraisal of property damage, estimates, photographs, repair and payment of
property damage;

The adjuster assigned to handle this claim and any appraiser or independent
adjustment company assigned to evaluate bodily injury, property damage,
med pay, or any other claim for payment;

Relating to the incident/ accident and its occurrence, including eyewitnesses,
its investigation, investigative officers, accident reconstruction, or other
information concerning the accident and the cause of it;

Regarding plaintiff's bodily injury claim or any assertion by you that plaintiff’s
injuries, in whole or in part, were not caused by the accident at issue;
Regarding plaintiff's claim for loss of income and any assertion by you that
plaintiff has not lost all or a part of her income or will not lose income in the
future as a result of this incident; and

Any information regarding any allegation by you that plaintiff's own

negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 12:

State whether you or your attorney or any third party have in your possession any

still photographs or video surveillance tapes of plaintiff, ERIC M. GAUFF, JR., and, if so,

state:

a.

b.

The date that all photographs and/or video surveillance were taken;
The name, address and telephone number of any and all individuals who took

the photographs and/or filmed the surveillance video; and
 

 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 63 of 83

c, All locations in which any of the above listed plaintiff was photographed

and/or under video surveillance.
INTERROGATORY NO. 13:

Please state the name, address and telephone number of the registered owner of
the vehicle involved in the subject accident.
INTERROGATORY NO. 14:

Please state whether you were driving the vehicle involved in the subject accident
with the full knowledge, permission and consent of the registered owner of the vehicle
involved in the subject accident.

INTERROGATORY NO. 15:

List the name, address and telephone number of all individuals who gave an audio
recorded statement, and the name, address and telephone number of all adjusters who
took audio recorded statements of any witness or party involving the subject accident.

REQUEST FOR PRODUCTION OF DOCUMENTS
REQUEST FOR PRODUCTION NO. 1:

Produce each and every:

a. Document, photograph, video, writing, notation, radiographic film, thing,
exhibit, or any other item of evidence referred in your answers to the preceding
Interrogatories: For every photograph, slide or illustration, please attach a
color copy. (Your reasonable reproduction cost for color copies will be
immediately paid by counsel upon receipt of invoice.)

b. Any document or evidence which you intend to produce as an exhibit at the
trial of this case;

c. A certified copy of all policies of insurance in existence at the time of the
incident/accident providing applicable insurance coverage for the
incident/ accident involved in this suit;

d. Any other document, photograph, video, writing, notation, radiographic film,

thing, exhibit or any other item of evidence having any information pertaining
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 64 of 83

to plaintiff's claims, defendants’ defenses, any counter claim or any other claim
in this suit in your possession.
REQUEST FOR PRODUCTION NO. 2:
Produce duplicate photographs and’ duplicate videos depicting any and all
photographs and video surveillance of plaintiff, ERIC M, GAUFF, JR.
REQUEST FOR PRODUCTION NO. 3:
Produce a copy of your driver's license.
REQUEST FOR PRODUCTION NO. 4:
| Produce audio recorded statements pursuant to Landis v. Moreau, 779 So2d 691 (La.
2001). |
REQUEST FOR PRODUCTION NO. 5:
Produce transcripts of all recorded statements of any witness of party related to
the subject accident pursuant to Landis v. Moreau, 779 So2d 691 (La. 2001),
REQUEST FOR PRODUCTION NO. 6:
Produce copies of all transcripts and all written statements prepared by any
individual with knowledge concerning the subject accident.
REQUEST FOR PRODUCTION NO. 7:
Produce any and all exhibits listed, described, referred to and requested to be
produced in answering the preceding set of Interrogatories.
REQUEST FOR PRODUCTION NO. 8.
Pursuant to the Louisiana Code of Civil Procedure Article 1458, the attached
Verification, signed and notarized.
THESE INTERROGATORIES AND REQUEST FOR PRODUCTION OF
DOCUMENTS ARE DEEMED CONTINUING AND SHOULD BE SUPPLEMENTED
REASONABLY IF AND WHEN YOU OR YOUR AGENT ARE IN POSSESSION OF

PHOTOGRAPHIC SURVEILLANCE OR VIDEO SURVEILLANCE.
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 65 of 83

PLEASE SERVE:

Respectfully submitted,
FAV AREST, RUSSO,
LUFKEW SCHAUMBURG

A Pyofessiotlal\Law/Corporation

DEM Ry, Bar #20186

SETH EH. SCHAWMBURG, Bar #24636
ANTHONY J. RUSSO, Bar #8806
ANGELA C. IMBORNONE, Bar #19631
LAUREN A. FAVRET, Bar #33826

1515 Poydras Street, Suite 1400

New Orleans, LA 70112

Telephone: (504) 561-1006

Facsimile: (504) 523-0699

Email: dean@favretlaw.com

Email: angela@favretlaw.com
Attorneys for Plaintiff

 

DIONNIS GUEVARA-FIGUERDO

2562 W. BERRY STREET
ODESSA, TEXAS 79766

o
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 66 of 83

VERIFICATION

STATE OF

 

PARISH OF

 

BEFORE ME, the undersigned authority, personally came and appeared:
DIONNIS GUEVARA-FIGUERDO
who, after being duly sworn, did depose and state that he has read the foregoing Answers
to Interrogatories and Responses to Request for Production of Documents and that same

are true and correct according to his information, knowledge and belief.

 

DIONNIS GUEVARA-FIGUERDO

Sworn to and subscribed before me
this day of _, 2021.

 

 

NOTARY PUBLIC
NOTARY LD. #:

 
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Case 2:22-cv-00004-LMA-DPC

ERIC M. GAUFF, JR.
VERSUS
PROGRESSIVE SECURITY

INSURANCE COMPANY, ET AL
DOCKET NO. 77169

Document 1-2 Filed 01/03/22 Page 67 of 83

40TH JUDICIAL DISTRICT COURT
PARISH OF ST. JOHN THE BAPTIST
STATE OF LOUISIANA

DIVISION “C”

4
Eliana DeFrancesch - Clerk of Court
Filed: Dec 13, 2021 11:52 AM

CA Tana

 

134762368 = AFFIDAVIT OF SERVICE

 

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned authority, personally came and appeared:
DEAN J. FAVRET
who, after being duly sworn, deposed and said:

That he is the attorney for plaintiff, ERIC M. GAUFF, JR.

That a Petition for Damages was filed on behalf of the plaintiff on October
1, 2021;

That he caused to be typed correspondence dated October 22, 2021, which
accompanied a Citation, Petition for Damages, Interrogatories and Request for
Production of Documents in these proceedings and which were forwarded by
Certified Mail, Return Receipt Requested No. 70170190000068588411, to
defendant, DGF TRANSPORT LLC, 2562 W. Berry Street, Odessa, Texas 79766;

That the original return receipt is dated November 3, 2021, unsigned due
to COVID, however the U.S. Postmaster delivered the Certified Mail to an
individual at DGF TRANSPORT LLC, 2562 W. Berry Street, Odessa, Texas 79766;

That a copy of the Citation, Petition for Damages, Interrogatories, Request
for Production of Documents, correspondence, Certified Return Receipt and

Tracking of the Postmaster are attached;
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 68 of 83

That this Affidavit of Service is p _for the purpose of evidencing

   
 
 

service pursuant to Louisiana Long Arn \\ seq. upon the defendant

 

   
 

herein.

T
SWORN T@AND SUBSCRIBED BEFORE ME
THIS 8 OF DECEMBER, 2021.

 

ANGELA C. IMBORNONE
NOTARY PUBLIC - My Commission is for Life
BAR ROLL #19631
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 69 of 83

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USPS Tracking’ | FAQs >

Track Another Package --

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ODESSA, TX 79766

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 70 of 83

 
   

 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 71 of 83

Favret, Demarest, Russo, Lutkewitte & Schaumburg

A Professional Law Corporation

: Of Counsel
Suite 1400 i :
Anthony J. Russo 1515 Poydras Street Charles A. Imbornone
Dean) ee . New Orleans, Louisiana 70112 Clarence F, Favret, Sr,
Seth H. Schaumburg (504) 561-1006 1896-1988
Angela C, Imbornone Telecopier (504) 523-0699 |, Paul Demarest
Conor T. Lutkewitte . 1942-2007
Lauren A. Favret Writer’s e-mail address: : -
dean@favretlaw.com Marshall J. Favret
1935-2014
October 22, 2021

VIA CERTIFIED MAIL - RETURN RECEIPT NO.: 70170190000068588411
DGF TRANSPORT LLC

2562 W. BERRY STREET
ODESSA, TEXAS 79766

 

RE: Eric M. Gauff, Jr. v. Progressive Security Insurance Co.
40TH Judicial District Court, St. John the Baptist Parish No.:

    

Dear Sir/Madam:
Enclosed please find a Citation and Petition for Damages, Interrogatories and Request for

Production of Documents which are being served upon you under the provisions of the Louisiana
Long-Arm Statite R.S. 13:3201.

Under the provisions of this Statute you have thirty (30) days within which to file
responsive pleadings from date of receipt.

With kind regards, I remain

 

DJF/st

Enclosures
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 72 of 83

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CITATION - LONG ARM STATUTE

ERIC M. GAUFF, JR. 40TH JUDICIAL DISTRICT COURT
VS ' PARISH OF ST. JOHN THE BAPTIST

PROGRESSIVE SECURITY STATE OF LOUISIANA

INSURANCE COMPANY, ET AL

DOCKET NUMBER: C-77169 DIVISION: C

 

To: DGF TRANSPORT LLC
THROUGH THE LOUISIANAT.ONG-ARM STATUTE
2562 W. BERRY. STREET
ODESSA, TEXAS 79766

Parish: LONG ARM STATUTE

 

 

“i —s I
You are. hereby summoned to comply with the demand-contained:in the Petition. of which
a true and: correct copy accompanies this citation, or make an appearance either by filing

. an Answer or other pleading to said Petitionzin.the Fortieth Judicial District Court in, and
for the Parish of St, John the Baptist; State of Louisiana, v within thirty (0) “aye after the
service hereof, ‘under penalty of default. . .

This service was ordered by DEAN, J FAYRET, ESQ. and was issued by the Clerk of.

Court on the OCTOBER 11, 2021.” ge . .

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* Also. attached are the following documeiits: y

 

 

PETITION FOR DAMAGES-, [-
SNGRENESE LA M. THOMAS ~
Deputy Clerk of Court for |. Wo
Eliana DeF. rancesch, Clerk of Court a
RECEIVED ON‘THE DAY OF 20 ANDON THE
DAY OF oe 0 ~ SERVED THE ABOVE NAMED, PARTY AS.
FOLLOWS: 7 .

PERSONAL SERVICE ON THR PA RTY HEREIN NAMED

DOMICILIARY SERVICE ON THE PARTY HEREIN NAMED BY LEAVING THE SAME ~-
AT HIS DOMICILE IN THE PARISH IN THE HANDS OF

_, A PERSON APPARENTLY OVER THE AGE OF
SEVENTEEN YEARS, LIVING AND RESIDED IN SAID DOMICILE AND WHOSE NAME
AND OTHER FACTS CONNECTED WITH THIS SERVICE, I LEARNED BY
INTERROGATING THE SAID PERSON, SAID PARTY HEREIN BEING ABSENT FROM
HIS RESIDENCE AT THE TIME OF SAID SERVICE.

 

 

 

 

RETURNED: PARISH OF THIS DAY OF
20

SERVICE $ BY:

MILEAGE $ : z DEPUTY SHERIFF

TOTAL §

ORIGINAL — RETURN COPY ~— SERVICE COPY - CLERK

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 73 of 83

407 JUDICIAL DISTRICT COURT FOR THE PARISH OF ST. JOHN THE BAPTIST

STATE OF LOUISIANA
CIVIL ACTION NO. 77] (05 DIVISION “ “C
Eliana DeFrancesch - Clerk of Caurt
Filed: Oct 01, 2021 3:16 PM ERIC M. GAUFF, JR.
CTU AN TUTE
134649680 -versus-

PROGRESSIVE SECURITY INSURANCE COMPANY, DIONNIS GUEVARA-
FIGUERDO AND DGE TRANSPORT LLC

 

 

 

FILED:
DEPUTY CLERK
INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
TO: DGF TRANSPORT LLC
2562 W, BERRY STREET
ODESSA, TEXAS 79766

COMES NOW, Plaintiff, ERIC M. GAUFF, JR., through undersigned counsel, and

 

 

directs the following Interrogatories and Request for Production of Documents to

! defendant, DGF TRANSPORT LLC, to be answered under oath within the delays
| provided by the Louisiana Code of Civil Procedure:
. INTERROGATORY NO. 1:
| For each policy of insurance providing insurance coverage for the
incident/ accident involved in this suit state:
a. The name of the insurer;
b. The limits of coverage for liability, UM, med pay, property damage
and property damage liability;
C. Whether you deny coverage or assert any exclusions; if your answer
is yes, the factual basis for your denial of coverage or assertion of
exclusions; and
d. Identify any umbrella or excess policies of insurance along with

name of insurer and limits of coverage.

INTERROGATORY NO. 2:

 

State the version of the accident as related to DGF TRANSPORT LLC.
 

 

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INTERROGATORY NO. 3:

Do you allege that plaintiff was at fault in causing the accident? If your answer is
yes, state the factual basis for any allegation that plaintiff was at fault or contributed to
the accident.

INTERROGATORY NO. 4:

List each and every defense you allege to plaintiff’s claims for bodily injury,

medical expenses, property damage, loss of income, disability, scarring, mental anguish,

loss of consortium or any other claim for damages made by plaintiff. For each defense

. you list, state the factual basis on which you assert this defense,

INTERROGATORY NO. 5:

State whether DIONNIS GUEVARA-FIGUERDO was in the employ of DGF

| TRANSPORT LLC, at the time of the subject accident and, if so, whether the accident

occurred while the said DIONNIS GUEVARA-FIGUERDO was on duty or performing a
job related function.
INTERROGATORY NO. 6:

If the said DIONNIS GUEVARA-FIGUERDO was not employed by DGEF
TRANSPORT LLC, at the time of the accident, please state the name of the company or
companies by whom he was employed and state whether or not he was in the course and
scope of his employment with said company or companies at the time of the subject
accident.

INTERROGATORY NO. 7:

Please describe each and every other vehicle accident reported to you by the said
DIONNIS GUEVARA-FIGUERDO where DIONNIS GUEVARA-FIGUERDO was
involved as a driver, providing the date, location and a description of how the accident
occurred.

INTERROGATORY NO. 8:

State whether DIONNIS GUEVARA-FIGUERDO received a citation for the

accident at issue and, if sO, whether said citation was paid and, if not, how same was

resolved.
 

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Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 75 of 83

INTERROGATORY NO. 9:

List any and all restrictions that you are aware of that DIONNIS GUEVARA-
FIGUERDO has affecting his ability to drive or in connection with his license to drive,
including any restrictions on his eyesight, movement, mental condition, medical
condition, or any other conditions which would restrict or affect his driving.
INTERROGATORY NO. 10:

List each and every arrest, plea or conviction that you are aware of that DIONNIS
GUEVARA-FIGUERDO has been involved in or has incurred in the past.
INTERROGATORY NO. 11:

Please list the last known address and telephone number of DIONNIS GUEVARA-
FIGUERDO and the date of the last contact between DGF TRANSPORT LLC, and
DIONNIS GUEVARA-FIGUERDO.

INTERROGATORY NO. 12:

Please state the name, address and telephone number of the registered owner of
the vehicle involved in the subject accident.
INTERROGATORY NO. 13:

Please state whether DIONNIS GUEVARA-FIGUERDO was driving the vehicle
involved in the subject accident with the full knowledge, consent and permission of the
owner of the vehicle owned by your company.

INTERROGATORY NO. 14:

State the name of every person or entity which you know has any information, or
may testify, or has contacted you regarding this case in connection with the following
issues:

For each PERSON OR ENTITY state (1) address, employment, phone number; (2)
whether they will be called as a witness at trial; and (3) provide a detailed factual
description of the information they possess or the testimony they will be providing.

a. Insurance coverage in effect providing coverage to you or your

insured and any asserted exclusions or denial of coverage;
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 76 of 83

b. Any property damage involving any of the vehicles involved in this
suit, the appraisal of property damage, estimates, photographs,
repair and payment of property damage;

c. The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to evaluate bodily
injury, property damage, med pay or any other claim for payment;

d. Relating to the incident/accident and its occurrence, including
eyewitnesses, its investigation, investigative officers, accident
reconstruction, or other information concerning the accident and the
cause of it;

e, Regarding plaintiff's bodily injury claim or any assertion by you that
plaintiff's injuries, in whole or in part, were not caused by the
accident at issue;

f. Regarding plaintiff's claim for loss of income and any assertion by
you that plaintiff has not lost all or a part of his income or will not
lose income in the future as a result of this incident; and

g. Any information regarding any allegation by you that plaintiff's
own negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 15:

Describe every DOCUMENT OR THING which you know has any information
in connection with the following issues:

For each DOCUMENT OR THING include: (1) each and every photograph,
video, writing, notation, radiographic film, thing, exhibit or any other item of evidence;
(2) describe it by its title or a description of it; and (3) state who has possession of it.

a. Insurance coverage in effect providing coverage to you or your

insured and any asserted exclusions or denial of coverage;

b. Any property damage involving any of the vehicles involved in this
suit, the appraisal of property damage, estimates, photographs,

repair and payment of property damage;
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 77 of 83

c, The adjuster assigned to handle this claim and any appraiser or
independent adjustment company assigned to ‘evaluate bodily
injury, property damage, med pay, or any other claim for payment;

d. Relating to the incident/accident and its occurrence, including
eyewitnesses, its investigation, investigative officers, accident
reconstruction, or other information concerning the accident and the
cause of it;

e. Regarding plaintiff's bodily injury claims or any assertion by you
that plaintiff's injuries, in whole or in part, were not caused by the
accident at issue;

f, Regarding plaintiff's claim for loss of income and any assertion by
you that plaintiff has not lost all or a part of his income or will not
lose income in the future as a result of this incident; and

g. Any information regarding any allegation by you that plaintiff's
own negligence caused or contributed to the accident at issue.

INTERROGATORY NO. 16:
State whether you or your attorney or any third party have in your possession any
- still photographs or video surveillance tapes of plaintiff, ERIC M. GAUFF, JR., and, if so,
state:

a. The date that all photographs and/or video surveillance were taken;

b. The name, address and telephone number of any and all individuals
who took the photographs and/or filmed the surveillance video; and

c. All locations in which any of the above listed plaintiff was
photographed and/or under video surveillance.

INTERROGATORY NO. 17:

If the above referred to DIONNIS GUEVARA-FIGUERDO was employed by your
company at the time of the accident, please state whether or not he is still employed by
DGF TRANSPORT LLC, and, if not, please state the date of the termination and the

reason or reasons for the termination.
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 78 of 83

INTERROGATORY NO. 18:
List the name, address and telephone number of all individuals who gave an audio
recorded statement, and the name, address and telephone number of all adjusters who

took audio recorded statements of any witness or party involving the subject,accident.

REQUEST FOR PRODUCTION OF DOCUMENTS
REQUEST FOR PRODUCTION NO. 1:

Produce each and every:

a. Document, photograph, video, writing, notation, radiographic film,
thing, exhibit, or any other item of evidence referred in your answers
to the preceding Interrogatories. For every photograph, slide or
illustration, please attach a color copy. (Y our reasonable
reproduction cost for color copies will be immediately paid by
counsel upon receipt of invoice.)

b, Any document or evidence which you intend to produce as an
exhibit at the trial of this case;

iC A certified copy of all policies of insurance in existence at the time of
the incident/accident providing applicable insurance coverage for
the incident/ accident involved in this suit; and

d. Any other document, photograph, video, writing, notation,
radiographic film, thing, exhibit or any other item of evidence
having any information pertaining to plaintiff's claims, defendants’
defenses, any counter claim or any other claim in this suit in your

| possession.
! REQUEST FOR PRODUCTION NO. 2:

Produce duplicate photographs and duplicate videos depicting any and all

photographs and video surveillance of plaintiff, ERIC M. GAUFE, JR.

 
 

 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 79 of 83

REQUEST FOR PRODUCTION NO. 3:

Produce a copy of DIONNIS GUEVARA-FIGUERDO’S driver's license.
REQUEST FOR PRODUCTION NO. 4:

Produce audio recorded statements pursuant to Landis v. Moreau, 779 So.2d 691 (La.
2001).
REQUEST FOR PRODUCTION NO. 5:

Produce transcripts of alll recorded statements of any witness of party related to
the subject accident pursuant to Landis v. Moreau, 779 So.2d 691 (La. 2001).
REQUEST FOR PRODUCTION NO. 6:

Produce copies of all transcripts and all written statements prepared by any
individual with knowledge concerning the subject accident.
REQUEST FOR PRODUCTION NO. 7:

Produce any and all exhibits listed, described, referred to and requested to be
produced in answering the preceding set of Interrogatories.
REQUEST FOR PRODUCTION NO. 8:

Pursuant to the Louisiana Code of Civil Procedure Article 1458, the attached
Verification, signed and notarized.

THESE INTERROGATORIES AND REQUEST FOR PRODUCTION OF

DOCUMENTS ARE DEEMED CONTINUING AND SHOULD BE SUPPLEMENTED

REASONABLY IF AND WHEN YOU OR YOUR AGENT ARE IN POSSESSION OF

PHOTOGRAPHIC SURVEILLANCE OR VIDEO SURVEILLANCE,
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 80 of 83

Respectfully submitted,

   
     

 

 

AUR \p 20186

J. RU! Bar #8806
SETH H/SCHAUMBURG, Bar #24636
ANGELA C. IMBORNONE, Bar #19631
LAUREN A. FAVRET, Bar #33826
1515 Poydras Street, Suite 1400

New Orleans, Louisiana 70112
Telephone: (504) 561-1006

Facsimile: (504) 523-0699

Email: dean@favretlaw.com

Email: angela@favretlaw.com

 

Attorneys for Plaintiff
PLEASE SERVE:
THROUGH THE LOUISIANA LONG-ARM STATUTE
DGF TRANSPORT LLC

2562 W. BERRY STREET
ODESSA, TEXAS 79766
 

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 81 of 83

VERIFICATION

STATE OF

 

PARISH OF

 

BEFORE ME, the undersigned authority, personally came and appeared:

DGF TRANSPORT LLC
Through his undersigned representative,

who, after being duly sworn, did depose and state that he has read the foregoing Answers

to Interrogatories and Responses to Request for Production of Documents and that same

are true and correct according to his information, knowledge and belief.

DGF TRANSPORT LLC

By:

 

Printed Name:

 

Title:

 

SWORN TO AND SUBSCRIBED BEFORE ME
THIS DAY OF 2021.

 

 

NOTARY PUBLIC
NOTARY LD. #

 
Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 82 of 83

ERIC M. GAUFF, JR. 40TH JUDICIAL DISTRICT COURT
VERSUS PARISH OF ST. JOHN THE BAPTIST
PROGRESSIVE SECURITY STATE OF LOUISIANA
INSURANCE COMPANY, ET AL

DOCKET NO. 77169 . DIVISION “C”

Eliana DeFrancesch—Clark-of Gourt
Filed: Dec 13, 2021 11:52 AM

: UTA) AIT TOAD a ORDER

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Considering the above and foregoing;

IT IS ORDERED that the First Amending Petition for ee be filed herein.

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ae ouisiana this the [Stioao , , 2021,

ORLA DISWRICT COURT JUDGE
J. Sterling oy

 

PLEASE SERVE THE ORIGINAL PETITION FOR DAMAGES AND THE FIRST
AMENDING PETITION FOR DAMAGES:

PROGRESSIVE COUNTY MUTUAL INS. CO. - PLEASE HOLD SERVICE

PLEASE SERVE THE FIRST AMENDING PETITION FOR DAMAGES:
PROGRESSIVE SECURITY INSURANCE COMPANY - PLEASE HOLD SERVICE

THROUGH THE LOUISIANA LONG ARM STATUTE - PLEASE HOLD SERVICE
DIONNIS GUEVARA-FIGUERDO

THROUGH THE LOUISIANA LONG ARM STATUTE - PLEASE HOLD SERVICE
DGF TRANSPORT LLC

  

 

 
  

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Eliana DeFrancesch - Clerk of Court

Filed: Oct 29, 2021 11:32 AM

Case 2:22-cv-00004-LMA-DPC Document 1-2 Filed 01/03/22 Page 83 of 83

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D55657480
CITATIO!
ERIC M.GAUFFJR 40TH JUDICIAL DISTRICT COURT
vs PARISH OF ST.JOHN THE BAPTIST
PROGRESSIVE SECURITY STATE OF LOUISIANA
INSURANCE COMPANY, ET AL
DOCKET NUMBER: C-77169 DIVISION: C

 

' | (Fo: | PROGRESSIVE SECURITY INSURANCE COMPANY
THROUGH THE LOUISIANA SECRETARY OF STATE
8585 ARCHIVES AVENUE
BATON ROUGE,LA —_70809

   
 
 

Parish: E. BATON ROUG

 

 
 

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